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(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                           Eastern District of Washington


 U.S.A. vs.                    Kinard Jr., Odell                       Docket No.             2:17CR00101-WFN-23

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Odell Kinard Jr., who was placed under pretrial release supervision by the Honorable Senior U.S. District Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 21st day of July 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

           RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of marijuana on July 26, 2017.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       August 24, 2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

 THE COURT ORDERS
 [X ] No Action
 [ ]  The Issuance of a Warrant
 [ ]  The Issuance of a Summons
 [ ]  The incorporation of the violation(s) contained in this
       petition with the other violations pending before the
       Court.
 [ ]  Defendant to appear before the Judge assigned to the case.
 [ ]  Defendant to appear before the Magistrate Judge.
 [ ]  Other
                                                                           Signature of Judicial Officer

                                                                            August 25, 2017
                                                                           Date
